          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )          ORDER
                                         )
                                         )
DENNIS LAMAR BRUTON, et al.,             )
                                         )


     THIS MATTER is before the Court on motion of Defendant Bruton’s

appointed counsel to withdraw and the Defendant’s notice of withdrawal of

his motion to suppress.

     Because the Court has not ruled on counsel’s motion to withdraw,

the motion to suppress cannot simply be withdrawn. In addition, other co-

Defendants have joined the motion to suppress and the Court has allowed

their participation during the hearing scheduled Monday, April 6, 2009,

which will address the merits of that motion.

     The parties are notified that the Court will proceed with the hearing

on the motion to suppress. Thereafter, counsel’s motion to withdraw as

Defendant Bruton’s attorney will be addressed by the Court.




   Case 1:09-cr-00013-MR-WCM     Document 171   Filed 04/03/09   Page 1 of 2
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                                Signed: April 3, 2009




Case 1:09-cr-00013-MR-WCM   Document 171    Filed 04/03/09   Page 2 of 2
